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              EXHIBIT 1
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 1                                                            THE HONORABLE THOMAS S. ZILLY
                                                             THE HONORABLE S. KATE VAUGHAN
 2

 3

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 6

 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9   ECHOTA C. WOLFCLAN, on behalf of                      Case No. 23-cv-5399-TSZ-SKV
     himself and other similarly situated
10   individuals,                                          PLAINTIFF ECHOTA WOLCLAN’S
                                                           FIRST INTERROGATORIES AND
11                                                         REQUESTS FOR PRODUCTION TO
                                        Plaintiffs,        DEFENDANTS
12
              v.
13

14
     PIERCE COUNTY, et al.,
15
                                       Defendants
16

17   TO:               Pierce County, et al., Defendants
18
              Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Plaintiff Echota
19
     Wolfclan (“Plaintiff”) hereby requests that Defendants Pierce County, et al (“Defendants”)
20
     respond to the following Interrogatories and Requests for Production within thirty (30) days from
21
     date of service.
22

23                                 DEFINITIONS AND INSTRUCTIONS

24            For purposes of these Requests, the following definitions shall apply.

25            1.       “Document” is used in the broadest sense contemplated by Federal Rule of Civil

26   Procedure 34, and includes, but is not limited to, the following items: agreements; drafts;

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 1   communications; correspondence of any kind, including, but not limited to, text messages, instant

 2   messages, WhatsApp messages, Discord messages, Zoom messages, Microsoft Teams messages,

 3   e-mails, telegrams, cables, and facsimiles; memoranda; records; books; financial statements;

 4   summaries of records or notes of personal conversations or interview; diaries; calendars; forecasts;

 5   statistical statements; accountants work papers; graphs; charts; maps; diagrams; blue prints; tables;

 6   indexes; pictures; recordings; tapes; microfilm; charge clips; accounts; analytical records; minutes

 7   or records of meetings or conferences; reports and/or summaries of investigations; opinions or

 8   reports of consultants; appraisals; reports and/or summaries of negotiations; brochures; pamphlets;

 9   circulars; trade letters; press releases; contracts; stenographic, handwritten or any other notes;

10   projections; working papers; federal and state income tax returns; checks, front and back; check

11   stubs or receipts; shipping documents; manifests; invoice vouchers; computer printouts and

12   computer disks and tapes; and tape data sheets or data processing cards or disks or any other written,

13   recorded, transcribed, punched, taped, filmed or graphic matters; however produced or reproduced.

14            2.        “Communication” includes every manner of transmitting or receiving facts,

15   information, opinions, or thoughts from one person to another person, whether orally, by

16   documents, writing, e-mail, or copy thereof, and to words transmitted by telephone, radio, or any

17   method of voice recording.

18            3.       “Identify” or “describe” means the following:

19                     a. When used in connection with natural persons, “identify” or “describe” means

20                          to state the person's full name, present business address and telephone number,

21                          present home address, and city of residence as well as the substance of the

22                          person's knowledge, where such knowledge was obtained, whether such

23                          knowledge was discussed with you, when such discussions occurred, who

24                          participated in such discussions, and the substance of all discussions.

25                     b. When used in connection with an entity, “identify” or “describe” means to state

26                          the entity's full name, last known address(es), telephone number, and

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 1                          organization form (e.g., corporation, sole proprietorship, partnership, joint

 2                          venture, etc.).

 3                     c. When used in connection with an act, “identify” or “describe” means to provide

 4                          a description of the act, including the place, date, and time of its occurrence,

 5                          and the persons and/or entities engaged in the act.

 6                     d. When used in connection with documents, “identify” or “describe” means to

 7                          state the nature of the document (e.g., memorandum, letter, notes, etc.), its

 8                          author(s), its addressee(s) or recipient(s), its title or subject matter, and given to

 9                          it at the time of production. If the document has not been produced, then

10                          Plaintiff requests that it be produced, pursuant to Civil Rule 34, along with

11                          Defendant’s response to these Interrogatories.

12                     e. When used in connection with an oral communication, “identify” or “describe”

13                          means to state the time, date, place, and means of the oral communication (e.g.,

14                          telephone, personal meeting, etc.), the identity of all persons participating in the

15                          oral communication, the identity of persons hearing the oral communication,

16                          and a detailed description of the oral communication.

17            4.       “Plaintiff” means Echota Wolfclan (f/k/a Justin Allen Davey) and any of his agents

18   or representatives, including his current and former attorneys.

19            5.       “Defendants” or “Defendant” means each separately named defendant in this

20   lawsuit, including individuals and entities, and any of its/his/her agents or representatives,

21   including its/his/her current/former attorney(s).

22            6.       “Jail” means Pierce County Jail at 910 Tacoma Ave. S., Tacoma, WA 98402.

23            7.       “Incarceration” or “Incarcerated” means any individual who was detained for any

24   amount of time at Pierce County Jail, whether pre- or post- conviction, for any period of time.

25            8.       “Related to” or “relating to” shall mean directly or indirectly supporting,

26   evidencing, describing, mentioning, referring to, contradicting, comprising or concerning.

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 1            9.       “And” or “or” shall be construed conjunctively or disjunctively as necessary to

 2   make the requests inclusive rather than exclusive.

 3            10.      The use of the word “including” shall be construed to mean “without limitation”

 4   and without implication of exclusion of any relevant terms or examples not explicitly listed.

 5            11.      Reference to the singular in any of these requests shall also include a reference to

 6   the plural, and reference to the plural shall include a reference to the singular.

 7            12.      Unless otherwise stated, the relevant time period for all Interrogatories and

 8   Requests for Production is January 1, 2012 through Present.

 9            13.      In answering these Interrogatories, Plaintiff shall furnish all information known or

10   available. If any of these Interrogatories cannot be answered in full, the interrogatory shall be

11   answered to the extent possible.

12            14.      These Requests for Production seek electronically stored information (“ESI”).

13   Produce all ESI in native format, and produce within the folders and subfolders that the file was

14   found. Alternatively, the native files may be converted to TIFF files, with full-text OCR, and

15   include an Opticon and .dat load files—so long as the image documents are produced with

16   corresponding metadata in a comma delimited CSV (including, but not limited to, BegDoc#,

17   EndDoc#, PgCount, To, From, CC, BCC, Author, DateSent, DateCrtd, DateRcvd, DocTitle,

18   Subject, Parentid, Custodian, File-Path) or a link to the associated native file. Emails must be

19   produced preserving the local time. Nonprintable or nonconvertible files (e.g., excel files,

20   PowerPoint files, financial reports, CAD Files, video files, and sound files) must be produced in

21   native format. The documents shall be produced as they are kept in the usual course of business or

22   shall be organized and labeled to correspond to the categories of requests. File folders with tabs or

23   labels identifying documents requested must be produced intact with the documents. Selection of

24   documents from the files and other sources and the numbering of any documents shall be

25   performed in a manner that ensures that the source (custodian and file) of each document may be

26   determined if necessary. Documents attached to each other should not be separated. Unless

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 1   otherwise agreed to by the Parties, production of ESI should comply with the United States District

 2   Court for the Western District of Washington’s Model Agreement Regarding Discovery of

 3   Electronically Stored Information.

 4            15.      In the event you assert any form of objection or privilege as a ground for not

 5   answering an interrogatory or any part of an interrogatory, please set forth the legal grounds and

 6   facts upon which the objection or privilege is based. If the objection relates to only part of the

 7   interrogatory, the balance of the interrogatory should be answered in full.

 8            16.      All documents shall be produced as they are maintained in the ordinary course of

 9   business, and shall be produced in their original folders, binders, covers, or containers, or facsimile

10   thereof. For example, documents maintained electronically shall be produced in the manner in

11   which such documents are restored and retrieved.

12            17.      The duty to produce documents shall not be limited or affected by the fact that the

13   same document is available through another source. All documents should be produced which are

14   not subject to an objection and are known by, possessed or controlled by, or available to

15   Defendants or any of its attorneys, consultants, representatives, employees, officers, directors,

16   partners, or other agents.

17            18.      For any information withheld on the basis of a claim of privilege, identify the

18   privileged information, the person(s) who possess or who have shared the information and such

19   other facts, including but not limited to the nature of the information that supports your claim of

20   privilege. Plaintiff shall provide, at the time responses are due hereunder, a statement setting forth

21   as to each such document the following information:

22                     a. the name(s) of the sender(s) of the document;

23                     b. the name(s) of the author(s) of the document;

24                     c. the name(s) of the Person(s) to whom the document or copies were sent;

25                     d. the date of the document;

26                     e. a brief description of the nature and subject matter of the document; and

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 1                     f. the nature of the privilege or the authority which is claimed to give rise to it.

 2            19.      Should you obtain any other documents or information which would supplement or

 3   modify the documents or information supplied by you in response to this request, you are directed,

 4   pursuant to Federal Rule of Civil Procedure 26(e), to give timely notice of such documents and

 5   information and to furnish the additional documents or information to Plaintiff without delay.

 6                                           INTERROGATORIES
 7            INTERROGATORY NO. 1: Describe each individual Defendant’s work history from

 8   2012 to Present, including, but not limited to each employer, job title, business address, immediate

 9   supervisor, dates of employment, compensation, and reason(s) for leaving.

10            ANSWER:

11

12

13            INTERROGATORY NO. 2: Identify all individuals who have been employed or

14   contracted to perform maintenance of toilets or plumbing at Pierce County Jail since 2012,

15   including whether the individual is directly employed by Pierce County or is a contractor. For

16   contracted individuals, identify the name and address of his/her employer. For each individual

17   listed, whether employee or contractor, include the full name and dates he/she worked at Pierce

18   County Jail.

19            ANSWER:

20

21

22            INTERROGATORY NO. 3: Identify all individuals who have been employed or

23   contracted to perform maintenance of grievance kiosk systems at Pierce County Jail since 2012,

24   including whether the individual is directly employed by Pierce County or is a contractor. For

25   contracted individuals, identify the name and address of his/her employer. For each individual

26

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 1   listed, whether employee or contractor, include the full name and dates he/she worked at Pierce

 2   County Jail.

 3            ANSWER:

 4

 5

 6            INTERROGATORY NO. 4: Describe the policy and/or procedure that Pierce County

 7   Jail has in place to address when a correctional officer or any other employee receives a complaint

 8   from an inmate regarding sanitation conditions in a cell, including but not limited to complaints

 9   about plumbing, toilets, sewage, and/or unsanitary living conditions. Include any change(s) in

10   policy that has occurred, including but not limited to during and in response to the COVID-19

11   pandemic.

12            ANSWER:

13

14

15            INTERROGATORY NO. 5:              Identify each documented instance that an inmate,

16   including but not limited to Plaintiff, has complained about unsanitary living conditions, including

17   complaints about plumbing, sewage, and/or the toilets at Pierce County Jail, whether by formal

18   grievance or otherwise, at any point since 2012 to Present.

19            ANSWER:

20

21

22            INTERROGATORY NO. 6: Identify each employee who has worked in any capacity

23   with inmates housed in the Mental Health Unit(s), including Unit 3 North A, of the Pierce County

24   Jail, including but not limited to Correctional Officers and/or guards, psychiatrists, and other

25   Mental Health staff (e.g. “MHP”), since 2012 to Present. For each, include the individual’s full

26   name, job title, duties and responsibilities, immediate supervisor, and dates of employment.

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 1            ANSWER:

 2

 3

 4            INTERROGATORY NO. 7: Identify and describe each instance in which any portion of

 5   the plumbing at Pierce County Jail has been inspected, repaired, or replaced since 1985 to Present.

 6            ANSWER:

 7

 8

 9            INTERROGATORY NO. 8: Identify how many inmates have been housed in the area

10   that is currently known as Unit 3 North A from 2012 to Present.

11            ANSWER:

12

13

14            INTERROGATORY NO. 9: Identify and describe any and all studies and/or cost

15   estimates that have been provided to Pierce County and/or Pierce County Jail since 1985 to Present

16   regarding the plumbing and/or toilets at Pierce County Jail. For each, describe the anticipated cost

17   of replacing the toilets and/or plumbing, the decision that was made regarding whether to replace

18   the toilets and/or plumbing, why the decision was made, and who made the decision.

19            ANSWER:

20

21

22            INTERROGATORY NO. 10: Identify and describe all policies regarding the cleaning

23   of cells in Pierce County Jail, including the process by which an inmate can request and receive

24   cleaning supplies for his or her cell, the hours the supplies are available, whether supervision is

25   required while an inmate uses the supplies, when and for what reason cleaning supplies may be

26   denied, and whether the process for obtaining and/or the availability of cleaning supplies differs

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 1   between various units in the Jail, and if so, describe the differences and reasons for those

 2   differences.

 3            ANSWER:

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 6            INTERROGATORY NO. 11: Identify and describe each instance that an inmate,

 7   including but not limited to Plaintiff, was denied the ability to submit a grievance about unsanitary

 8   living conditions at Pierce County Jail from 2012 to Present. For each instance, describe the reason

 9   for the denial and what, if any, alternative option for filing a grievance was provided to the inmate.

10            ANSWER:

11

12

13            INTERROGATORY NO. 12: Identify the factual basis for Defendants’ denial of

14   Paragraph 60 to Plaintiff’s Amended Complaint (Dkt. 107), filed May 10, 2024, and Defendant’s

15   contention that “Plaintiff misrepresents a 2014[] engineering report regarding water closet

16   placement,” as stated in Defendant’s proposed Joint Status Report and Discovery Plan.

17            ANSWER:

18

19

20            INTERROGATORY NO. 13: Identify the factual basis for each of Defendants’ pleaded

21   affirmative defenses, as stated on pages 13 through 14 of their Answer (Dkt. 107), filed May 10,

22   2024.

23            ANSWER:

24

25

26            INTERROGATORY NO. 14: Identify all individuals who have been housed in a cell in

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 1   Pierce County Jail Cell Block 3 North A from April 4, 2023, to Present. For each, include the

 2   individual’s full name, inmate number, and dates of incarceration at the Pierce County Jail.

 3            ANSWER:

 4

 5                                 REQUESTS FOR PRODUCTION

 6            REQUEST FOR PRODUCTION NO. 1: Produce all documents and communications

 7   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 1.

 8            RESPONSE:

 9

10

11            REQUEST FOR PRODUCTION NO. 2: Produce all documents and communications

12   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 2.

13            RESPONSE:

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16            REQUEST FOR PRODUCTION NO. 3: Produce all documents and communications

17   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 3.

18            RESPONSE:

19

20

21            REQUEST FOR PRODUCTION NO. 4: Produce all documents and communications

22   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 4.

23            RESPONSE:

24

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 1            REQUEST FOR PRODUCTION NO. 5: Produce all documents and communications

 2   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 5.

 3            RESPONSE:

 4

 5

 6            REQUEST FOR PRODUCTION NO. 6: Produce all documents and communications

 7   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 6.

 8            RESPONSE:

 9

10

11            REQUEST FOR PRODUCTION NO. 7: Produce all documents and communications

12   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 7.

13            RESPONSE:

14

15

16            REQUEST FOR PRODUCTION NO. 8: Produce all documents and communications

17   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 8.

18            RESPONSE:

19

20

21            REQUEST FOR PRODUCTION NO. 9: Produce all documents and communications

22   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 9.

23            RESPONSE:

24

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 1            REQUEST FOR PRODUCTION NO. 10: Produce all documents and communications

 2   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 10.

 3            RESPONSE:

 4

 5

 6            REQUEST FOR PRODUCTION NO. 11: Produce all documents and communications

 7   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 11.

 8            RESPONSE:

 9

10

11            REQUEST FOR PRODUCTION NO. 12: Produce all documents and communications

12   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 12.

13            RESPONSE:

14

15

16            REQUEST FOR PRODUCTION NO. 13: Produce all documents and communications

17   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 13.

18            RESPONSE:

19

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21            REQUEST FOR PRODUCTION NO. 14: Produce all documents and communications

22   relied upon in preparing, or reviewed while preparing, your response to Interrogatory No. 14.

23            RESPONSE:

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 1            REQUEST FOR PRODUCTION NO. 15: Produce all documents and communications

 2   between Defendants and any inmates or employees of Pierce County Jail related to issues of

 3   backflow of toilets, plumbing, sanitation, maintenance or inspection of the same, and/or

 4   complaints thereof, including submitted grievances or requests to file grievances, from 2012 to

 5   Present.

 6            RESPONSE:

 7

 8

 9            REQUEST FOR PRODUCTION NO. 16: Produce all documents and communications

10   related to Grievance 554280, Grievance 530542, or any other grievance filed by Plaintiff or any

11   other inmate related to sewage, backflow of toilets, sanitation issues, and/or maintenance of the

12   same, from 2012 to Present.

13            RESPONSE:

14

15

16            REQUEST FOR PRODUCTION NO. 17: Produce documents (including but not limited

17   to shift schedules or time sheets) sufficient to show which correctional officers and/or other

18   officers or guards or other employees were assigned to work in the 3 North A Unit of Pierce County

19   Jail each day from 2012 to Present.

20            RESPONSE:

21

22

23            REQUEST FOR PRODUCTION NO. 18: Produce all records related to Plaintiff,

24   including but not limited to, disciplinary, medical, grievances, commissary, and/or any other

25   records related to Plaintiff from any period in which he was detained at Pierce County Jail.

26            RESPONSE:

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 1             REQUEST FOR PRODUCTION NO. 19: Produce a map or layout of Pierce County

 2   Jail that shows all of the units, cells, and locations of each toilet.

 3             RESPONSE:

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 5

 6             REQUEST FOR PRODUCTION NO. 20: Produce all documents and communications

 7   related to the design, installation, maintenance, inspection, and/or replacement of any portion of

 8   the plumbing at Pierce County Jail since 1985 to Present.

 9             RESPONSE:

10

11

12             REQUEST FOR PRODUCTION NO. 21: Produce all documents and communications

13   related to the backflow of toilets, sewage issues, sanitation issues, or the living or working

14   conditions created thereby, at Pierce County Jail since 2012 to Present.

15             RESPONSE:

16

17

18             REQUEST FOR PRODUCTION NO. 22: Provide all documents and communications

19   related to the two lawsuits filed in 2012 against Pierce County regarding toilet issues at Pierce

20   County Jail (Meyer-Clemmons v. Karr, No. C11-5603-RBL-JRC, 2012 WL 709596 (W.D. Wash.

21   Feb. 3, 2012); Steele v. Kerr, No. C11-5793-BHS-JRC, 2012 WL 710096 (W.D. Wash. Jan. 31,

22   2012)).

23             RESPONSE:

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 1            REQUEST FOR PRODUCTION NO. 23: Provide all documents and communications

 2   related to the plumber “Jason” who was sent to Plaintiff’s cell to snake his toilet on or around

 3   December 18, 2020.

 4            RESPONSE:

 5

 6

 7            REQUEST FOR PRODUCTION NO. 24: Produce all documents and communications

 8   between Ms. or Mrs. Herbison, who upon information and belief was an Officer or Cluster Officer

 9   in 2021, and any inmates or employees of Pierce County Jail related to sewage issues, toilet

10   backflow issues, sanitation issues, and maintenance regarding the same, from 2012 to Present.

11            RESPONSE:

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14            REQUEST FOR PRODUCTION NO. 25: Provide all documents and communications

15   related to Plaintiff’s transfer to or from any unit and/or any cell within a unit in Pierce County Jail

16   between April 4, 2022 and Present.

17            RESPONSE:

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20            REQUEST FOR PRODUCTION NO. 26: Provide all documents and communications

21   related to any discipline or disciplinary proceeding to which Plaintiff was subject at any point

22   during any incarceration in Pierce County Jail.

23            RESPONSE:

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     PLAINTIFF ECHOTA WOLFCLAN’S FIRST INTERROGATORIES AND REQUESTS FOR
     PRODUCTION TO DEFENDANTS
                                                       STOEL RIVES LLP
     (23-cv-5399-TSZ-SKV) - 15                           ATTORNEYS
                                                                      600 University Street, Suite 3600, Seattle, WA 98101
     123454773.1 0099820-01207                                                      Telephone 206.624.0900
         Case 3:23-cv-05399-TSZ-SKV Document 117-1 Filed 08/22/24 Page 17 of 20




 1            REQUEST FOR PRODUCTION NO. 27: Provide all documents and communications

 2   related to any discipline or disciplinary proceeding to which any detainee or inmate was subject at

 3   any point while detained or incarcerated at Pierce County Jail in any way related to cleaning

 4   supplies (or lack thereof), plumbing issues, toilet backflow or other malfunction, or

 5   complaints/grievances, whether formal or informal, made about any of the aforementioned topics.

 6            RESPONSE:

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 9            REQUEST FOR PRODUCTION NO. 28: Provide any report, summary, or other

10   document regarding whether any aspect of the plumbing at Pierce County Jail (or portion thereof)

11   is compliant with any applicable regulation, code, ordinance, or other legal requirement.

12            RESPONSE:

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16            REQUEST FOR PRODUCTION NO. 29: Provide all documents and communications

17   related either to (1) any report, summary, or other document any report, summary, or other

18   document regarding whether any aspect of the plumbing at Pierce County Jail (or portion thereof)

19   is compliant with any applicable regulation, code, ordinance, or other legal requirement, or (2) the

20   preparation or drafting of any such report, summary, or other document.

21            RESPONSE:

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24            REQUEST FOR PRODUCTION NO. 30: Provide a copy of any transcript and/or audio

25   recording of Plaintiff Wolfclan’s telephone calls from April 4, 2023 to August 15, 2023.

26            RESPONSE:

     PLAINTIFF ECHOTA WOLFCLAN’S FIRST INTERROGATORIES AND REQUESTS FOR
     PRODUCTION TO DEFENDANTS
                                                       STOEL RIVES LLP
     (23-cv-5399-TSZ-SKV) - 16                           ATTORNEYS
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     123454773.1 0099820-01207                                                    Telephone 206.624.0900
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 2            REQUEST FOR PRODUCTION NO. 31: Provide a copy of all documents and

 3   communications related to the inspection of Cell Block 3 North A on or around April 26, 2023.

 4            RESPONSE:

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 7            REQUEST FOR PRODUCTION NO. 32: Provide a copy of all documents and

 8   communications referencing or related to the October 1, 2014, Main Jail Water Closet

 9   Replacement Pre-Design report created by Hultz BHU Consulting Engineers, Inc.

10            RESPONSE:

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     PLAINTIFF ECHOTA WOLFCLAN’S FIRST INTERROGATORIES AND REQUESTS FOR
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                                                       STOEL RIVES LLP
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     123454773.1 0099820-01207                                                 Telephone 206.624.0900
         Case 3:23-cv-05399-TSZ-SKV Document 117-1 Filed 08/22/24 Page 19 of 20




 1
               DATED: May 30, 2024.
 2                                       STOEL RIVES LLP

 3

 4                                       s/ Scott Pritchard
                                         J. Scott Pritchard, WSBA No. 50761
 5                                       Michael P. Rubin, WSBA No. 59598
                                         Alissa N. Harris, WSBA No. 59368
 6                                       600 University Street, Suite 3600
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 7                                       Telephone: 206.624.0900
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11

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20                                       lmarieroybal@gmail.com

21                                       Attorneys for Plaintiff Echota Wolfclan

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                                                       STOEL RIVES LLP
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         Case 3:23-cv-05399-TSZ-SKV Document 117-1 Filed 08/22/24 Page 20 of 20




 1                                     CERTIFICATE OF SERVICE

 2            I, Kristy Harris, hereby certify that at all times mentioned herein, I was and am a resident

 3   of the state of Washington, over the age of eighteen years, not a party to the proceeding or

 4   interested therein, and competent to be a witness therein. My business address is that of Stoel

 5   Rives LLP, 600 University Street, Suite 3600, Seattle, Washington 98101.

 6            On May 30, 2024, I caused a true and correct copy of the foregoing document to be

 7   served upon the following counsel of record in the manner indicated below:

 8
      Frank Cornelius, WSBA No. 29590                                   hand delivery
 9    Jana Hartman, WSBA No. 35524                                      facsimile transmission
10    Pierce County Prosecuting Attorney’s Office (Civil)               overnight delivery
      Civil Division                                                    first class mail
11    930 Tacoma Ave. S, Ste 946                                        e-mail delivery
      Tacoma, WA 98402-2160
12    P: 253-798-6514
      F: 253-798-6713
13    Email: frank.cornelius@piercecountywa.gov
14           jana.hartman@piercecountywa.gov

15    Attorneys for Defendants

16
              Executed this 30th day of May 2024 at Seattle, WA.
17

18                                                      /s/Kristy Harris
                                                        Kristy Harris, Practice Assistant
19                                                      STOEL RIVES, LLP
                                                        Kristy.harris@stoel.com
20

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     PLAINTIFF ECHOTA WOLFCLAN’S FIRST INTERROGATORIES AND REQUESTS FOR
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